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LANNY A. BREUER CLERK U § DISTRICT COURT
Assistant Attorney General BY DISTRICT OF ARIZONA ory
Criminal Division
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Washington, D.C. 20530 -
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Lau Gwinoredepee MESES ARE uy
UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA .
SEALED
United States of America,
Plaintiff, C
v. (4 f0-f08( TUESRU GCE
Jonathan Horowitz, MOTION TO SEAL
Defendant. FILED UNDER SEAL
United States of America, by and through its attorneys, Dennis K. Burke, United States

Attorney for the District of Arizona, Lanny A. Breuer, Assistant Attorney General and Laura J.
Gwinn, Trial Attorney for the United States Department of Justice, requests this Court to seal
the Information prepared in the above-named case. The facts contained in the Information
should not be released to the public at large, as the investigation is ongoing. The Information,
the motion to seal and the order to seal shall remain sealed until further order of this Court.

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Case 4:10-cr-01031-FRZ-GEE Document 3 Filed 05/11/10 Page 2 of 2

The government requests the indictment, motion to seal and the order to seal remain
sealed until further order of this Court.
DATED this / day of May, 2010.

VuctSavd Ry _

LAURA J. GWINN V

Trial Attorney

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